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                                           August 30, 2023
  BY E-FILE
   The Honorable Jennifer L. Hall
   United States District Court of Delaware
   844 North King Street
   Wilmington, DE 19801

                 Re:       Regeneron Pharmaceuticals, Inc. v. Amgen Inc.
                           C.A. No.: 22-00697-RGA-JLH
  Dear Judge Hall:
          We are troubled by Plaintiff Regeneron Pharmaceuticals’ letter filed yesterday casting
  aspersions on Amgen’s good faith redactions to Regeneron’s Amended Complaint. Regeneron
  published its letter on the Court’s docket without any advance notice to Amgen, let alone any
  request or effort to meet and confer with Amgen regarding the issues raised therein. The letter
  prematurely indicates an intent to dispute Amgen’s redactions when Amgen of course would have
  been available to address any questions about the redactions and to follow the customary practice
  of a stipulated proposed order for a brief extension of time to permit a meet and confer.
  Regeneron’s publication of its letter on the docket—and failure to meet and confer with Amgen
  before doing so—heightens our concern that the very purpose of the Amended Complaint and its
  extensive citation to confidential discovery material is not to litigate this case on the merits but
  rather to seek to publicize Amgen’s discovery materials.
         Amgen remains willing to promptly meet and confer with Regeneron over any concerns
  Regeneron has. So that the parties can do so meaningfully, Amgen respectfully requests a limited
  period of time, through September 7, for the meet and confer process in light of the August 31,
  2023 deadline for Amgen’s request for leave to file summary judgment and the upcoming holiday
  weekend. Amgen further requests—again—that Regeneron’s counsel comply with its obligations
  to meet and confer before unilaterally and prematurely contacting chambers. In the meantime,
  Amgen will not here seek to respond to Regeneron’s premature comments, other than to dispute
  Regeneron’s characterizations and point to the sealed version of the brief cited by Regeneron
  which addresses the role of Otezla® in the ESI contract. See D.I. 25 and 18 at n.5.
                                                       Respectfully,
                                                       /s/ Melanie K. Sharp
                                                       Melanie K. Sharp (No. 2501)
  MKS:mg
  cc:      All Counsel of Record (via CM/ECF and e-mail)
           Clerk of the Court (via CM/ECF)

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